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Fu£o ar 0951 o.c.
IN THE UNITED sTA'rEs DIsTRICT CoURT
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUH 2 l PH 5; l
WEsTERN DIVISIQN °
FCB"H’:“ P.. D' ':"ROLEO
UNITED sTA'rES or AMERiCA, ) omaha us last cr
Plaintiff, W.o. or TN. MEMPH\S

vs. ) CR. NO. 05~20113-B

CHANDRA NETTERS LOFTON TAYLOR,
Defendant. )

 

ORDER ON MOTION TO WAIVE PRESENCE

 

Before the Court is the Motion To Waive Presence filed by Chandra Netters
Lofton Taylor, Defendant, through her counsel, on June 21, 2005, asking the Court
to Waive the presence of the Defendant at the status report hearing set for June 23,
2005; based upon the allegation of the Defendant that she is presently enrolled in
an in-patient treatment program at a facility in Mernphis, and that it would be
better for her to remain within the confines of the treatment facility at this tirne,
and based upon the record in this cause as a whole, the Court is of the opinion
that the motion is Well taken and should be granted.

IT lS, THEREFORE, ORDERED, ADIUDGED AND DECREED BY THE
COURT:

1. That the presence of Chandra Netters Lofton Taylor at the status report

hearing on June 23, 2005, shall be and hereby is Waived and excused.

 

N RABLE J. DANIEL BRBEN, JUDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:05-CR-20113 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

